 

 

My name is Ricardo Morales and I hereby declare as follows:

 

 

 

 

 

1. Ihave personal knowledge of the matters stated herein and would testify to the same if

called as a witness in Court.

2s I am over eighteen years of age and am otherwise competent to testify.

3. I currently live in Philadelphia County, Pennsylvania. My current address is: 2016
Race Street. |

4. I am a registered voter at my current address.

5. Iam a 48 year old Hispanic male.

6. In the November 2020 general election, I originally completed and returned to election

officials in my county a mail ballot on October 28, 2020.

Ts This ballot was cancelled or rejected, I believe because of a signature error. My full,
Hispanic name has four names, and I think that is how it appears on my registration. But the

space on the mail-in ballot to sign my name was very small, so I only wrote the anglicized
version of my name, which consists of two names.

8. I learned that this ballot was rejected because on Election Day, Tuesday, November 3,
2020, when I received a text message from SEIU letting me know that my ballot had been
rejected and letting me know I could appear in pefson to cast a provisional ballot. I believe that
SEIU contacted me because I am a member of the American Federation of Musicians.

 

 

oO After learning that my first ballot was not accepted, I went to a polling place and cast a
provisional ballot.
10. It would undermine my fundamental right to vote if my ballot were invalidated.

I would hate it if my vote were not counted. That would be totally unacceptable to me.

The statements made in this Declaration are true and correct to the best of my knowledge,
information, and belief. I understand that false statements made herein are subject to the
penalties of 18 Pa. C.S. § 4904, relating to unsworn falsification to authorities.

Executed on November [DATE], 20p0 in Philadelphia, Pennsylvania.

y[20%

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Ricardo Morales / / [

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